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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No.: 20-22916-Civ-COOKE/REID

 CHARLTON EDWARD LACHASE,

          Plaintiff
 vs.

 BUTNER FEDERAL MEDICAL CENTER et al.,

       Defendants.
 ___________________________________________/
       ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION
         THIS MATTER was referred to the Honorable Lisette M. Reid, United States
 Magistrate Judge, pursuant to 28 U.S.C. § 636(b)(1)(B) and Administrative Order 2019-2 of
 this Court, for a ruling on all pre-trial, non-dispositive matters and for a Report and
 Recommendation on any dispositive matters (ECF No. 2). On September 16, 2020, Judge
 Reid issued a Report of Magistrate Judge (ECF No. 5) recommending that Plaintiff’s case
 be transferred to the United States District Court for the Eastern District of North Carolina
 because venue is improper here. Plaintiff has not objected to Judge Reid’s Report and the
 time to do so has passed.
         I have considered Judge Reid’s Report, Plaintiff’s Complaint, the relevant legal
 authority, and have made a de novo review of the record. I find Judge Reid’s Report clear,
 cogent, and compelling.       Accordingly, it is ORDERED and ADJUDGED that Judge
 Reid’s Report of Magistrate Judge (ECF No. 5) is AFFIRMED and ADOPTED. The
 Court directs the Clerk to TRANSFER this case to the Eastern District of North Carolina.
          DONE and ORDERED in Chambers at Miami, Florida, this 19th day of October
 2020.
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 Copies furnished to:
 Lisette M. Reid, U.S. Magistrate Judge
 Charlton Edward LaChase, pro se
